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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION

   SHREVEPORT CHAPTER #237                                      CASE NO. 5:17-CV-01346
   OF UNITED DAUGHTERS OF THE
   CONFEDERACY

   VERSUS                                                       JUDGE ROBERT G. JAMES

   CADDO PARISH COMMISSION                                      MAG. JUDGE MARK L. HORNSBY


                                       MEMORANDUM RULING

           Pending before the Court is a Motion for Summary Judgment, submitted by Defendant, the

   Caddo Parish Commission, whereby Defendant seeks dismissal of all claims asserted by Plaintiff,

   Shreveport Chapter #237 of the United Daughters of the Confederacy. [Doc. No. 88]. At its core,

   the dispute in this matter is whether the Caddo Parish Commission can remove the Confederate

   Monument which sits on the front plat or portion of the Caddo Parish Courthouse Square. 1 The

   answer to the question in dispute turns upon what person or entity has the right to control the

   property upon which the monument sits. By its motion, Defendant contends Plaintiff “cannot

   demonstrate a property interest in the land upon which the Confederate Monument sits and

   therefore cannot assert First, Fifth and Fourteenth Amendment Claims.” Id. at 1. Plaintiff opposes

   the motion, contending it acquired ownership of the land underneath the monument by acquisitive

   prescription. For the reasons that follow, the Court finds the Caddo Parish Commission has the

   authority to remove the monument which sits upon property the Parish holds in trust for public

   use. Accordingly, Defendant’s motion is GRANTED, and Plaintiff’s claims are DISMISSED

   WITH PREJUDICE.


   1
    On October 19, 2017, the Caddo Parish Commission adopted Resolution No. 69, which “authorizes the
   Parish Administrator, assisted by the Parish Legal Staff, to pursue any and all legal means to remove the
   monument from the Caddo Parish Courthouse Square.” [Doc. No. 10-1 at 6].
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   I.      Historical Background

           On July 1, 1835, a Treaty was made with the Caddo Indians whereby the United States

   would acquire the lands which today constitute Caddo Parish. [Doc. No. 38 at 2; see also Treaty

   With the Caddo, 7 Stat. 470 (1835)]. The second supplemental article of the Treaty “reserved to

   Larkin Edwards . . . one section of land to be selected out of the lands ceded to the United States

   by the said nation of Indians. . . .” Id. The foregoing “floating reservation” given to Edwards,

   which consisted of 640 acres and forms present day downtown Shreveport, included what later

   became known as Shreveport Block 23. [Doc. No. 90 at 6]. On January 24, 1836, Larkin Edwards

   entered into a promise to sell his floating grant to Angus McNeill for $5,000.00, on the condition

   that the Treaty between the United States and the Caddo “be confirmed by the Senate of the United

   States. . . .” [Doc. No. 90-1 at 14, 16].2 On January 26, 1836, the Treaty with the Caddo was ratified

   by the United States Senate. See U.S. v. Brooks, 51 U.S. 442, 448 (1850).

           In May of 1836, Angus McNeil and six other persons formed the Shreve Town Company.

   [Doc. No. 90 at 6; Doc. No. 90-1 at 12; see also Pickett v. Brown, 18 La.Ann. 560, 561 (La. 1866);

   Akin v. Caddo Parish Police Jury, 234 So.2d 203, 205 (La.App. 2 Cir. 1970)]. On May 27, 1836,

   McNeil sold and assigned to each of his partners an equal interest in the Edwards’ reserve. [Doc.

   No. 90-1 at 12]. That Act of Sale states the reserve “has been located on Bennett and Cane’s Bluff

   on the South Bank of Red River as will more fully appear by reference to a survey made by Grant

   A. Alexander, dated on the 16th of May, 1836, which tract or parcel of land has been laid out in

   lots for a town to be called SHREVE TOWN.” [Doc. No. 90-1 at 12 (emphasis in original)]; see

   also Akin at 205; City of Shreveport v. Walpole, 22 La.Ann. 526, 527 (La. 1870); Cane v. Battle,

   3 La.Ann. 642, 643 (La. 1848).


   2
    See also Doc. No. 90-1 at 16 (noting the document reflecting the agreement was incorrectly dated January
   24, 1835).


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           On February 4, 1837, Larkin Edwards executed an act under private signature whereby he

   nullified the former conveyance of his property to McNeil, acknowledged he had previously

   received $5,000.00 for the property, and then conveyed the property to the members of the Shreve

   Town Company. 3 The document further states:

           It is my intention and it is so understood between me and the purchasers above
           named to convey all the right, title, claim and pretensions which I now have by
           virtue of the above recited Treaty . . . and I do hereby warrant and will forever
           defend the above sold and described tract of land to the said purchasers, their heirs
           or assigns, against the claim or claims of all and every person or persons
           whomsoever. . . .

   [Doc. No. 90-1 at 16]. Edwards further bound himself, his “heirs, executors, and administrators,

   to pass and sign an authentic Act of Sale of the above mentioned tract of land before any Notary

   or other public officer duly authorized to receive and record contracts in the said State whenever I

   or they shall be legally required so to do.” Id. The instrument is signed by Edwards, McNeill, the

   six other members of the Shreve Town Company, and three witnesses. Id.; see also Cane at 643.

   On June 27, 1839, Edwards acknowledged the February 4, 1837 conveyance of his land to the

   Shreve Town Company before the Judge and Ex officio Notary Public for the Parish, as well as

   two witnesses, thereby causing his act under private signature to have “the same credit as an

   authentic act.” LA. CIV. CODE art. 2239 (1825); [Doc. 90-1 at 16-17]. 4 On December 14, 1841

   (effective May 10, 1843), the Shreve Town Company was dissolved and it divided all remaining

   unsold lots by judicial partition. [Doc. No. 90 at 7 (citing Pickett v. Brown, 18 La.Ann. 560, 561

   (La. 1866))]. Block 23 had not been sold prior to the partition, and “no former owners of the Shreve

   Town Company has ever claimed it.” Id. at 8.


   3
    Plaintiff interprets this document as Edwards nullifying the sale to the Shreve Town Company. See e.g.
   Doc. 90 at 7, 8. Plaintiff’s interpretation is belied by the face of the document.
   4
    Plaintiff contends Edwards never executed an authentic Act of Sale. See e.g. Doc. 90 at 7, 8. As set forth
   above, Plaintiff’s position is belied by the evidence.


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             On January 18, 1838, the Parish of Caddo was created out of Natchitoches Parish. Parish

   of Caddo v. Bossier Parish, 113 So. 378, 381 (La. 1927); Akin at 205. On March 20, 1839, the

   town of Shreveport was created by the Louisiana Legislature. City of Shreveport v. Walpole, 22

   La.Ann. 526, 528 (1870); Police Jury of Bossier v. Corporation of Shreveport, 5 La.Ann. 661 (La.

   1850). Maps of “Shreve Town or the City of Shreveport show Block 23 dedicated as the Public

   Square from the late 1830s forward.” [Doc. No. 90-4 at ¶ 1]. Since at least 1846, Caddo Parish has

   used block 23, City of Shreveport, for public purposes. [Doc. Nos. 38 at 2; 90-1 at 22, 24-27, 34,

   37; see also Akin at 205]. The Caddo Parish Police Jury appropriated funds for the building of a

   Courthouse on Block 23 in 1856. [Doc. No. 90-1 at 27, 34]. The 1857 plat of the City of Shreveport

   shows Block 23 as designated for “Court House.” [Doc. No. 12-1 at 4; Doc. No. 12-5]. A

   courthouse, maintained by Caddo Parish, has sat on the same property since at least 1860. [Doc.

   No. 38 at 2; Doc. No. 90-1 at 34, 37; Doc. No. 51 at 58].

             In 1903, the Caddo Parish Police Jury granted permission to Plaintiff to place a Confederate

   Monument on the front plat of the Courthouse Square. 5 [Doc. No. 10-5]. The Minutes of the Police

   Jury reflecting the agreement read in pertinent part as follows:

             Mr. W.H. Wise on behalf of the Daughters of the Confederacy made an earnest
             appeal for an appropriating of $1000 for the Confederate monument, at the same
             time requesting that the monument association be given the front plat or portion of
             court house square as a site for the monument.

                    Moved by J.S. Young that the $1000.00 be allowed and the front plat of
             court house square be reserved for that purpose, which motion was unanimously
             adopted.

   [Doc. No. 10-5 at 1]. The monument has remained in that place until present day.




   5
       The Caddo Parish Police Jury was the predecessor in interest of the Caddo Parish Commission.


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   II.    Summary Judgment Standard

          “A party may move for summary judgment, identifying each claim or defense–or the part

   of each claim or defense–on which summary judgment is sought.” Fed. R. Civ. P. 56(a). “The

   court shall grant summary judgment if the movant shows that there is no genuine dispute as to any

   material fact and the movant is entitled to judgment as a matter of law.” Id. “A genuine issue of

   material fact exists when the evidence is such that a reasonable jury could return a verdict for the

   non-moving party.” Quality Infusion Care, Inc. v. Health Care Service Corp., 628 F.3d 725, 728

   (5th Cir. 2010). As summarized by the Fifth Circuit:

          When seeking summary judgment, the movant bears the initial responsibility of
          demonstrating the absence of an issue of material fact with respect to those issues
          on which the movant bears the burden of proof at trial. However, where the
          nonmovant bears the burden of proof at trial, the movant may merely point to an
          absence of evidence, thus shifting to the non-movant the burden of demonstrating
          by competent summary judgment proof that there is an issue of material fact
          warranting trial.

   Lindsey v. Sears Roebuck and Co., 16 F.3d 616, 618 (5th Cir.1994) (internal citations omitted).

          When reviewing evidence in connection with a motion for summary judgment, “the court

   must disregard all evidence favorable to the moving party that the jury is not required to believe,

   and should give credence to the evidence favoring the nonmoving party as well as that evidence

   supporting the moving party that is uncontradicted and unimpeached.” Roberts v. Cardinal Servs.,

   266 F.3d 368, 373 (5th Cir.2001); see also Feist v. Louisiana, Dept. of Justice, Office of the Atty.

   Gen., 730 F.3d 450, 452 (5th Cir. 2013) (court must view all facts and evidence in the light most

   favorable to the non-moving party). “Credibility determinations are not part of the summary

   judgment analysis.” Quorum Health Resources, L.L.C. v. Maverick County Hosp. Dist., 308 F.3d

   451, 458 (5th Cir. 2002). Rule 56 “mandates the entry of summary judgment . . . against a party

   who fails to make a showing sufficient to establish the existence of an element essential to that




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   party’s case, and on which that party will bear the burden of proof.” Patrick v. Ridge, 394 F.3d

   311, 315 (5th Cir. 2004)(alterations in original)(quoting Celotex v. Catrett, 477 U.S. 317, 322

   (1986)).

   III.   Arguments of the Parties

          A.      Defendant’s Arguments

          Defendant contends it owns the Courthouse Square by dedication, or alternatively, by

   acquisitive prescription, and therefore it has the authority to determine what monuments should be

   displayed in that public space. [Doc. No. 88-1 at 3, 8]. In support of its first position, Defendant

   submits: (1) “filings in Natchitoches and Caddo Parish,” which Defendant argues show Larkin

   Edwards sold his tract to the Shreve Town Company, and therefore “maps of Shreveport showing

   this area dedicated to public use and not reserved for private ownership conform to what is

   evidenced by the deeds,” Id. at 3; (2) the Minutes of the Caddo Parish Police Jury meeting held

   June 3, 1856, which reflect the Police Jury appropriated $10,000.00 “to build a court house and

   suitable offices for Caddo Parish” on Block 23, Id. at 4 (citing Doc. No. 88-4 at 10, 20); (3) a 2002

   title opinion, which states maps from 1857 display the words “Court House” at Block 23, Id. (citing

   Doc. No. 10-6); (4) the Minutes of the Caddo Parish Police Jury meeting held January 3, 1860,

   which authorized the “building Court House Committee . . . to make certain changes in the Clerk’s

   office in said building, . . . to let out contract for grading the public square and making side walks

   around same, and also to have a cistern constructed and gas fixtures put up in said Court House.”

   Id. (citing Doc. No. 88-4 at 20); and (5) the testimony of Plaintiff’s expert, Dr. Gary Joiner, who

   testified courthouses have sat on the property since the 1850s, and the square has consistently been

   maintained by Caddo Parish since that time. Id. (citing Doc. No. 51 at 58-59). Defendant argues




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   this evidence shows Block 23 was dedicated to public use by the Shreve Town Company, and

   Block 23 has been used for public purposes since at least the 1860s.

          In support of its alternative position‒that it acquired Block 23 by acquisitive prescription‒

   Defendant argues, “Based on the fact that the public square was platted and publicly dedicated by

   Shreve Town Company and that Shreve Town Company bought the reservation from Larkin

   Edwards and thus wholly owned it, the Parish had just title and good faith as stated in the 1846

   minutes.” [Doc. No. 88-1 at 5]. Accordingly, Defendant contends it acquired the property by

   prescription of ten years in 1856. In the further alternative, Defendant contends it acquired Block

   23 by prescription of thirty years in 1890. Id. at 5-6.

          B.      Plaintiff’s Arguments

          Plaintiff contends it acquired the plot of ground upon which the monument sits by

   acquisitive prescription, and therefore the Caddo Parish Commission cannot order removal of the

   monument (which Plaintiff also contends it owns) from Plaintiff’s private property. While Plaintiff

   concedes Block 23 was originally dedicated to public use, it argues Defendant impliedly revoked

   the dedication by granting Plaintiff permission to place the monument on the front plat of the

   Courthouse Square. [See e.g. Doc. 90-4 at 3]. In support of this argument, Plaintiff submits the

   affidavit of its “expert Mr. Wayne Webb, attorney at law,” who “reviewed conveyance records for

   Caddo Parish, Louisiana, for the purpose of determining the existence of any document purporting

   to convey any sort of an ownership interest of the . . . [plot of land situated within Block 23] into

   the Shreveport Chapter 237 of the Daughters of the Confederacy. . . .” [Doc. No. 90 at 16; Doc.

   No. 99-5 at 4]. According to Mr. Webb, he found no evidence conveying any type of interest in

   the property to Plaintiff in the Caddo Parish conveyance records. Id. However, after reviewing a




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   matter “off record,” namely the 1903 Minutes of the Caddo Parish Police Jury, Mr. Webb opined

   as follows:

                     Based upon the foregoing, I am of the opinion that the action of the Caddo
             Parish Police Jury in 1903, in reserving a plot of ground for the Daughters of the
             Confederacy, may have taken the property out of the purview of use as a public
             square as set forth in the original plat filing, because use of the plot of ground was
             then for the endeavors of a private entity. Pursuant to R.S. 33:4178, the action of
             the police jury may have been tantamount to a revocation of the dedication, which
             would have caused the ownership to revert back to those who dedicated the land.
             Under those circumstances, the Daughters of the Confederacy would have been
             occupying the respective plot without the permission of the true owners, thereby
             causing acquisitive prescription to run in favor the [sic] Daughters of the
             Confederacy.

   [Doc. No. 99-5 at 6]. 6

             Plaintiff notes it “has possessed” the property underneath the monument since 1903, when

   the Caddo Parish Police Jury “donated $1,000.00 for the construction of the Confederate

   Monument and gave a plot of land ‘in perpetuity’ to [Plaintiff].” 7 [Doc. No. 90 at 3]. According to

   Plaintiff, although it “treated the Caddo Parish Police Jury’s actions as an oral donation,” it now

   concedes “the minutes are not an actual written conveyance,” but argues they constitute “evidence

   that the Defendant had relinquished the dedication of said site for the public use for the Caddo

   Parish Courthouse for the Plaintiff’s private use.” Id. at 4. From the forgoing, Plaintiff concludes,

   “[t]here is no evidence that Caddo Parish owns Shreveport Block 23 in its entirety,” and Plaintiff



   6
     La. R.S. 33:4718 provides that “parish governing authorities . . . may revoke and set aside the dedication
   of all parks, public squares or plots dedicated to public use . . . , when such parks, public squares or plots
   have been abandoned or are no longer needed for public purposes.” Id. at § 4718(A). The statute further
   provides, “Upon such revocation, the title to the land covered by and embraced in said parks, public squares
   or plots, shall revert to the person or persons who were the owners of such land at the time of the dedication,
   their heirs, successors or assigns.” Id. at § 4718(B). The Court notes La. R.S. 33:4718 was not passed until
   1958, subsequent to the action of the Police Jury allowing Plaintiff to place the monument on the front plat
   of the Courthouse.
   7
       The words “in perpetuity” appear nowhere in the 1903 Minutes.




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   “acquired ownership of the land underneath the Confederate Monument via acquisitive

   prescription. . . .” [Doc. No. 90 at 2, 11].

           Plaintiff additionally attacks Defendant’s title, arguing Defendant did not acquire Block 23

   by acquisitive prescription. According to Plaintiff, although Larkin Edwards “sold his reservation

   to Angus McNeil and seven other men who later formed the Shreve Town Company in 1836,” on

   March 14, 1840, Larkin Edwards signed a document which declared that sale to be null and void.”

   Id. at 11-12. According to Plaintiff, Edwards died in 1841 “without signing an authentic Act of

   Sale” for the property, “and therefore, he never conveyed Shreveport Block 23 to the [sic] Angus

   McNeil and the other owners of the Shreve Town Company.” 8 Id. at 12. Based upon the forgoing

   characterization of the historical background, Plaintiff contends Defendant could not have

   acquired Block 23 by prescription of ten years, because it “does not possess a just title (i.e. legal

   and transferable title),” nor was Defendant’s possession in good faith. Id.

           Plaintiff further contends Defendant did not acquire Block 23 by prescription of thirty

   years, because “[t]he possession on which this prescription is founded must be continuous and

   uninterrupted during all the time; it must be public and unequivocal, and under the title of owner.” 9


   8
     As previously noted, this is not a reasonable interpretation of the document cited by Plaintiff. Rather, that
   document shows on February 4, 1837, Edwards nullified his sale to McNeil, and then conveyed the property
   to the members of the Shreve Town Company by act under private signature. On June 27, 1839, he
   acknowledged his signature by notarial act. [Doc. No. 90-1 at 16-17].
   9
     Plaintiff then states, “And since the Caddo Parish Police Jury is a parochial corporation, it must appoint a
   natural person to accept possession of Shreveport Block 23.” Id. at 13. Plaintiff cites LA. CIV. CODE art.
   439 (1870) for this position. However, article 439 does not support Plaintiff’s argument. At oral argument,
   counsel cited the Court to LA. CIV. CODE art. 437 (1825) for this argument. This article likewise does not
   support Plaintiff’s argument, as it applies to “[c]orporations unauthorized by law or by an act of the
   legislature.” Id. Plaintiff has provided no evidence that the Caddo Parish Police Jury was an unlawful
   corporation or was not authorized by the legislature. Further, this argument does not appear to comport with
   the jurisprudence of Louisiana. See e.g. City of New Orleans v. Carrollton Land Co., 60 So.2d 695, 698
   (La. 1913) (formal dedication or formal acceptance by town authorities is neither necessary nor practicable);
   Walpole, 22 La.Ann. at 529 (“The objection of the defendant that no acceptance of the dedication is shown,
   and that it is incumbent upon the plaintiff to show such acceptance, is without merit. It is well settled, by
   repeated decisions, that a formal acceptance is not necessary.”)


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   [Doc. No. 90 at 12-13 (quoting LA. CIV. CODE art. 3500 (1870))]. According to this argument,

   Defendant did not have “continuous and uninterrupted” possession, because “not one version of

   the Caddo Parish Police Juries had been in existence for the thirty (30) years needed for acquisitive

   prescription.” Id. at 13. As argued by Plaintiff, the enactment of various versions of the Louisiana

   State Constitution resulted in the dissolution of the prior governing authorities of Caddo Parish

   and the creation of new governing bodies, and therefore, “there was an interruption of precarious

   possession and no tacking.” [Doc. No. 90 at 14]. Plaintiff concludes, “Thus, without neither

   possession nor evidence that it did not have permission of the actual owner of Shreveport Block

   23 prescription had never commenced.” Id. at 13. In support of this argument, Plaintiff cites one

   case having no relevance to this issue10, as well as various articles of various versions of the

   Louisiana State Constitution, none of which support this position and will not be addressed further.

   [Doc. No. 90 at 13-14].

   IV.       Pertinent Jurisprudence

             One of the earlier cases addressing the formation of the town of Shreveport is Pickett v.

   Brown, 18 La.Ann. 560 (La. 1866). There, plaintiffs sued the City of Shreveport to recover three

   town lots they contended the city was illegally possessing. The lots were located between the river

   and the nearest street running along the river, in an area “constituting what is commonly called an

   ‘open space.’” Id. at 561. The city contended the property belonged to it for public uses since

   incorporation of the city on March 20, 1839, having been dedicated to the city at that time by the

   company formed by Angus McNeil and others who laid out the town. Id. at 561. The plaintiffs

   contended the city had no title to the property, the particular lots sued upon were not necessary for




   10
        See New York Belting and Packing Company v. T.W. Jones, 22 La.Ann. 530 (La. 1866).



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   public use, and the city had never appropriated the lots. Id. The Supreme Court set forth the law

   of dedication as follows:

                   That the dedication of property for public uses may be inferred from facts
           and circumstances, which leave no reasonable doubt upon the mind of the intention
           of the owner to make such a disposition, we think there can be no question.

                   ....

                  . . . [T]here is no particular form necessary to a dedication of land to public
           use. All that is required is the assent of the owner of the land, and the fact of its
           being used for the purposes intended.

                  . . . [N]either a deed nor a grantee is necessary in the matter of dedication
           of property to public uses.

   Id. at 562, 563 (internal quotation marks omitted) (citing City of Cincinnati v. The Lessee of White,

   31 U.S. 431, 432 (1832); Municipality No. 2 v. Orleans Cotton Press, 18 La. 122 (La. 1841)). 11

           In examining title to the disputed property, the Supreme Court noted when the Shreve

   Town Company was dissolved in 1843, all remaining unsold lots were divided by judicial partition

   among each of the co-proprietors. Id. at 561. The Court noted the partition was “made with great

   care and exactness,” and “much care had been taken to ascertain all the unsold property belonging

   to the company within the incorporated limits of the city. . . .” Id. at 561, 562. The Court found no

   disposition was made of the property at issue in the partition, the company had never exercised

   any act of ownership over the disputed property, and no evidence showed the company had ever

   intended to assert a claim over the property. Id. at 562. The court ultimately concluded the Shreve

   Town Company “intended to dedicate the public place in that town lying between Commerce street

   and the river, to public uses,” as “[a]ll conditions required by the authorities we have noticed, to




   11
     The requirements of an implied dedication are the same under current law. Such a dedication “requires
   an unequivocally manifested intent to dedicate on the part of the owner and an equally clear intent to accept
   on the part of the public.” Cenac v. Public Access Water Rights Ass’n, 851 So.2d 1006, 1011 (La. 2003).


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   render a dedication complete, seem to us to be fulfilled in this case.” Id. at 563. Accordingly, it

   decreed the property in dispute belonged to the city for public uses. Id. 12

           In Akin v. Caddo Parish Police Jury, 234 So.2d 203 (La.App. 2 Cir. 1970), residents of the

   City of Shreveport and the Parish of Caddo sought to enjoin the Caddo Parish Policy Jury from

   proceeding with plans to enlarge the parish courthouse and removing certain live oak trees

   encircling same. The court found the following historical facts were established at the trial of the

   case: In 1836, the Shreve Town Company had a map or plat recorded of present day downtown

   Shreveport. Id. at 205. The property was divided into sixty or more blocks, each of which was

   subdivided into lots “except Block 23, designated on the plat as a ‘public square,’ which was left

   intact.” Id. At that time, the area was a part of Natchitoches Parish, out of which Caddo Parish was

   created in 1838. The town of Shreveport was created in 1839, and its boundaries were “coextensive

   with the boundaries shown on the plat of 1836.” Id. In 1846, a jail was erected by the Caddo Parish

   Police Jury on the southwest corner of Block 23, and “[s]ince that time the square has been

   continuously under the administration of the Caddo Parish Police Jury. . . .” Id. A courthouse was

   erected by the parish upon the square in 1860, and there has been a courthouse on that block since

   that time. “In addition to serving as a site for a courthouse, the ‘square’ is frequently and

   incidentally used, and has been so used for many years, for public meetings of various kinds‒




   12
      See also Walpole, 22 La.Ann. 526 (finding Block 70, lying in the open space between Commerce Street
   and the river, was dedicated to the city for public use by the founders of the city, and the fact that no
   acceptance of the dedication was shown was irrelevant, as formal acceptance is not required; property
   dedicated to public use is inalienable); McNeil, 34 La.Ann. 1090 (finding lots within the “open space” of
   the City of Shreveport had been dedicated to public use by the Shreve Town Company by virtue of the fact
   it was not divided among the owners of the corporation by the judicial partition, and “title thereto was
   vested in the municipal corporation for such purposes, [which] ought not lightly to be disturbed, even if
   they were erroneous. . . .”).



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   political, patriotic, and otherwise, such as sports pep rallies, art shows, concerts, et cetera. These

   used [sic] have not interfered with the use of the square or the courthouse.” Id. at 205.

          The court then found the exceptions of no right of action and no cause of action should

   have been sustained, absent any allegation or showing that plaintiffs had any interest different from

   that of the public generally. However, because the matter involved “an action affecting a public

   interest, that is, the orderly administration of an important local governmental function,” the court

   addressed the merits of the issues presented as follows:

                 The courthouse square, known as Block 23, constitutes public property. A
          primary issue, therefore, relates to a question of its control, administration, and
          management. Obviously, public property, to serve the purposes intended for it, must
          be under the jurisdiction of some authority. When the plat for the townsite was
          prepared and filed for record, the police jury governing the area was the only local
          governing authority in existence. . . .

                  ....

                  The Caddo Parish Police Jury has, as a fact, exercised jurisdiction and
          control over and has administered the ‘public square’ for 124 years as a location for
          public buildings. . . .

                  The title of the property having been dedicated to the public, the governing
          authority, which, at the time, was the police jury representing the parish, continues
          in the public represented by the parish and not in a lesser segment of the public. . .
          . To hold otherwise would be to deprive a larger segment of the public of the use
          and enjoyment of the property and to place it in only a smaller segment of the public
          represented by the municipality.

                  ....

                  Thus, it must be concluded . . . that the police jury has jurisdiction and
          control over and has actual possession and administration of the property; that such
          administration and control are exercised in the interest of and for the service and
          benefit of the public in compliance with its obligation to provide and maintain a
          courthouse for the parish [under La. R.S. 33:4713].

   Id. at 208-09 (citations omitted).




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           In Police Jury of Plaquemines v. Foulhouze, 30 La.Ann. 64 (La. 1878), certain judgment

   creditors of the Parish of Plaquemines issued execution, seized and advertised for sale a tract of

   land held by the parish. Id. at 65. The property had previously been donated “to the inhabitants of

   the parish of Plaquemines” by an inter vivos act of donation in 1846, and it was accepted on behalf

   of the citizens by the Plaquemines Police Jury. Id. The donation was made “on the express

   condition that said inhabitants shall build and erect the Court House of the aforesaid parish” on the

   property. Id. Thereafter, a courthouse and jail were erected on a portion of the tract fronting the

   Mississippi river. In 1875, the parish leased the rear portion of the tract to a rice farmer. It was this

   rear portion which was seized by the judgment creditors. Id. The parish obtained an injunction

   against the sale “on the ground that the same had been dedicated to public use and was ‘hors de

   commerce.’” Id. at 66.

           On appeal, the Louisiana Supreme Court found the property was dedicated to public use,

   and therefore could “not be the subject of private ownership.” Id. Such property “is out of

   commerce, and not liable to seizure.” Id. Such property is held by a governmental body in trust for

   the public use, and the governing body has no authority “to dispose of property of a public nature,

   in violation of the trusts upon which it is held, nor of the public squares, streets or commons.” Id.

   The court then found:

                    We see no significance whatever in the fact that the whole of the donated
           tract is not in actual public use. It suffices that the public has a right to use. Nor
           does the fact that the part seized was cultivated in rice in 1875, under lease from
           the parish, operate to deprive the public of its rights of use. We have just seen that
           the parish can not directly or indirectly divest the property of its public character.
           How much of said property is or is not needed for the use of the public, is not, in
           its nature, a judicial question. It suffices for us to know that the public has a right
           to the use of the whole, and, for aught we can know, may have some day necessity
           for its use. Fifty years hence the Court House and jail may be, by encroachments of
           the river, driven to what is now the rear arpent of the tract. But these are
           considerations with which this Court has nothing to do. We must ascertain and
           enforce the rights of parties–which are governed by the law and not by the river.



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   Id. at 67 (emphasis in original); see also Cook v. City of Opelousas, 4 La.App. 300, 303-04

   (La.App. 1 Cir. 1925) (open public use of greater part of length of dedicated street, “like corporeal

   possession of a part of a tract of land, under title calling for an entire tract, constitutes acceptance

   for its entire length as indicated on the plan by which it was created.”)

   IV.    Analysis

          A.      As property dedicated to public use, the Caddo Parish Commission has the
                  right to control, administer and manage Block 23

          The parties and this Court agree Block 23 was impliedly dedicated to public use when the

   town of Shreveport was first laid out by the Shreve Town Company, thereby resulting in a

   servitude of public use. [Doc. No. 90-4 at 1, 3; Doc. No. 90 at 2; see also Pickett, 18 La.Ann. at

   562; Walpole, 22 La.Ann. at 527-28; Cane, 3 La.Ann. at 643]. At that time, the only governing

   authority in the area was the parish police jury. Akin at 205, 208. Accordingly, the Court finds

   Block 23 was to be held by the governing body of Caddo Parish in trust for public use.

          Once the dedication of Block 23 as a public square was accepted by public use, Block 23

   became a public thing. See LA. CIV. CODE art. 450; Coliseum Square Ass’n v. City of New Orleans,

   544 So.2d 351, 353 (La. 1989). “Public things, being insusceptible of private ownership, are

   inalienable, imprescriptible and exempt from seizure.” Band v. Audubon Park Com’n, 936 So.2d

   841, 845 (La.App. 4 Cir. 2006); see also Coliseum Square at 353 (“Such property, held as a public

   trust, is inalienable while it is being used by the public”). The fact that the Parish Police Jury

   allowed Plaintiff to place a monument in front of the courthouse does not operate to deprive the

   public of its rights of use. See e.g. Pickett at 562 (whether certain portion of property dedicated to

   public was or was not necessary for public use was irrelevant; “[i]f the original owners had

   dedicated the entire open space for public uses, it is not material to inquire to what uses it is




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   subjected”); Foulhouze at 67 (finding “no significance whatever in the fact that the whole of the

   donated tract is not in actual public use); Coliseum Square at 354 (“A thing may be in use without

   being necessary in the sense of being essential or indispensable.”); Cook at 303-04. Accordingly,

   the Court finds no part of Block 23 is susceptible of private ownership, absent a revocation of the

   dedication. McNeil v. Hicks, 34 La.Ann. 1090, 1093 (La. 1882). 13

           Prior to passage of La. R.S. 33:4718 in 1958, municipalities and parish governmental

   authorities could not transfer public property for private purposes absent express legislative

   authority from the State. See e.g. City of New Orleans v. Louisiana Soc. For Prevention of Cruelty

   to Animals, 85 So.2d 503, 507-08 (La. 1955); see also LA. CONST. art. 58 (1858). In other words,

   a revocation of a dedication of property to public use required express permission of the sovereign.

   McNeil at 1093. Further, an implied dedication was terminable only “by formal revocation,

   relocation or abandonment.” Collins v. Zander, 61 So.2d 897, 899 (La.App. Orleans 1952). As

   there is no evidence in the record showing the Caddo Parish Police Jury obtained express

   legislative permission to transfer the plot of ground to Plaintiff at any time prior to erection of the

   monument, and because there is no evidence in the record showing any “formal revocation,

   relocation or abandonment” of Block 23 as a public square, the Court finds the actions of

   Defendant, in reserving the front plot of ground for placement of a monument, did not constitute

   a revocation of the dedication. Because the Court finds the Parish did not revoke the dedication of

   Block 23, Plaintiff could not, as a matter of law, acquire the property at issue by acquisitive




   13
     Because Plaintiff had permission of the Parish of Caddo to place the Confederate Monument on the front
   plat of the Courthouse Square, to the extent Plaintiff gained any interest in the plot of ground upon which
   the monument was placed, the Court finds Plaintiff gained precarious possession of same. See LA. CIV.
   CODE art. 3437 (2018); Id. at comment (a). Precarious possessors cannot acquire property by acquisitive
   prescription. LA. CIV. CODE art. 3510 (1870).


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   prescription. Accordingly, Plaintiff has no private property interest in the plot of ground upon

   which the Confederate Monument sits. 14

           B.      Constitutional Claims

           Plaintiff asserts its rights under the First, Fifth and Fourteenth Amendments to the United

   States Constitution were violated by Defendant’s passage of Resolution No. 69. [Doc. No. 58 at

   2]. Defendant contends because the property was dedicated to public use, it holds the property

   upon which the Confederate Monument sits in trust for the public, and therefore Plaintiff’s

   Constitutional claims fail. [Doc. No. 88-1 at 8].

           According to Plaintiff, Resolution No. 69 “constitutes an unconstitutional taking of

   Plaintiff’s property in violation of the Fifth Amendment,” because Defendant has not provided

   Plaintiff with “just compensation.” [Doc. 90 at 24]. The Fifth Amendment, made applicable to the

   states through the Fourteenth Amendment, provides that “private property” shall not “be taken for

   public use, without just compensation.” Chicago B. & Q.R. Co. v. Chicago, 166 U.S. 226, 239

   (1897); Lingle v. Chevron USA, Inc., 544 U.S. 528, 536 (1995). It is well-settled that the framework

   of state law governs “what is a property interest compensable under the Fifth Amendment.” U.S.

   v. 131.68 Acres of Land, 695 F.2d 872, 875 (5th Cir. 1983); Fee v. Herndon, 900 F.2d 804, 810 (5th

   Cir. 1990); Hatfield v. Scott, 306 F.3d 223, 226 (5th Cir. 2002). Insofar as Plaintiff alleges its Fifth




   14
      Indeed, the Court finds the 1903 Minutes of the Caddo Parish Police Jury are more indicative of a
   dedication of the monument to the Parish in its public capacity, than they are of some type of conveyance
   of a property interest to Plaintiff. See e.g. McGraw v. City of New Orleans, 215 So.3d 319, 332 (La.App. 4
   Cir. 2017) (“We do not hesitate to conclude that the monuments at issue are public things given that the
   undisputed evidence establishes clearly that they were erected on public property, owned by the City in its
   public capacity, and subsequently dedicated to the public use.”); State ex rel. Singlemann v. Morrison, 57
   So.2d 238, 241 (La.App. Orleans 1952) (“The doctrine is now generally recognized that the reasonable use
   of public money for memorial buildings, monuments and other public ornaments, designed to inspire
   sentiments of patriotism or of respect for memory of worthy individuals is for a public purpose). While
   Defendant briefly raised this argument in its earlier briefing [see Doc. 38 at 15], it has not pursued that
   argument in this motion.


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   Amendment rights were violated by a “taking” of the ground upon which the monument sits, for

   the reasons set forth above, the Court finds Plaintiff has not met its burden of showing that it had

   any private property interest in the front plat of the courthouse. See e.g. Dorn v. International

   Broth. Of Elec. Workers, 211 F.3d 938, 948 (5th Cir. 2000).

          Plaintiff further appears to assert an unconstitutional “taking” with regard to the anticipated

   removal of the monument itself, when it argues, “Defendants’ Resolution No. 69 does not provide

   for any funding to compensate Plaintiff for the cost of removal, damages to the Confederate

   Monument, and proper storage of the said monument,” and further argues because the resolution

   “does not provide for taxpayers’ monies to pay for the removal,” Plaintiff will be required “to bear

   the costs of removal, storage, and damages to the Confederate Monument.” [Doc. No. 90 at 23].

   Assuming the Confederate Monument remains Plaintiff’s private property, the Court finds this

   claim fails for the same reason provided in its Ruling on Plaintiff’s application for a preliminary

   injunction–namely, that Plaintiff has presented no evidence that the Commission intends to compel

   it to bear the burden and cost of removal. Accordingly, the Court finds Plaintiff’s claim under the

   Fifth Amendment fails.

          Plaintiff argues its rights under the Fourteenth Amendment were violated, because “no

   procedural safeguards were in place to allow the Plaintiff to contest the removal of the Confederate

   Monument.” [Doc. No. 90 at 22]. The Fourteenth Amendment provides that no state shall “deprive

   any person of life, liberty, or property, without due process of law.” To have a protected property

   interest within the contours of the Fourteenth Amendment, one must have some legitimate claim

   of entitlement to it, and “the sufficiency of the claim of entitlement must be decided by reference

   to state law.” Blackburn v. Marshall, 42 F.3d 925, 936 (5th Cir. 1995) (quoting Bishop v. Wood,

   426 U.S. 341, 344 (1976)). As discussed above, Plaintiff has failed to show it has a legitimate




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   property interest sufficient to require Fourteenth Amendment protection. Nevertheless, even

   assuming Plaintiff did have a sufficient property interest, the Fourteenth Amendment requires that

   states follow fair procedures before depriving citizens of their property. Ordinarily, this requires

   that the affected individual be given notice of the anticipated deprivation and a fair opportunity to

   challenge its propriety. See Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 313

   (1950). In this matter, there was a public hearing held prior to the passage of Resolution 69. [Doc.

   No. 12-3]. Further, the president of Shreveport Chapter #237 of the United Daughters of the

   Confederacy was a member of the advisory committee which studied this issue for over a year

   prior to the passage of the Resolution. [Doc. No. 12-6 at 13-14]. Accordingly, the Court finds

   Plaintiff had adequate notice and opportunity to be heard on the issue of removing the monument.

           With regard to the First Amendment, Plaintiff asserts: “Defendants restricted the Plaintiff’s

   First Amendment rights on the Plaintiff’s privately owned property without providing . . . an

   alternative channel for communication of the information” [Doc. No. 90 at 17]; Defendant’s

   regulation of Plaintiff’s First Amendment rights from its’ [sic] own private property . . . did not

   leave Plaintiff an ample alternative means to communicate its’ [sic] message since there can only

   be one location for the spot where the last flag flew from a Confederate capital [sic]” Id. at 18; and

   “Defendants’ decision does not provide for any alternative for the Plaintiff to express either its’

   [sic] speech or beliefs.” Id. at 19. As previously discussed, the Court finds Plaintiff has no protected

   property interest in the plat of ground upon which the monument sits.

           To the extent Plaintiff argues its free speech rights have been violated by removal of the

   monument on property dedicated to public use, the Court likewise finds Plaintiff’s claim fails.

   “[T]he placement of a permanent monument in a public park is best viewed as a form of

   government speech and is therefore not subject to scrutiny under the Free Speech Clause.”




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   Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 464 (2009). “A government entity has the

   right to speak for itself,” and it is “entitled to say what it wishes.” Id. at 467 (internal quotation

   marks omitted). As stated in State ex rel. Singelmann v. Morrison:

           No individual or private association has the right to erect a memorial on public
           property without the consent of the governing authorities. . . .

                   If any community in Louisiana has too many heroes to honor, or if memorial
           plaques should become plagues on its public buildings, the local authority could
           require their removal and prohibit their future erection.

   57 So.2d 238, 244-45 (La.App. Orleans 1952). Because the placement of permanent monuments

   in public parks is not subject to scrutiny under the First Amendment, and because Plaintiff makes

   no argument that the Commission has made any effort to abridge any traditional free speech rights

   (i.e., the right to speak, distribute leaflets, etc.) that may be exercised by Plaintiff and others in the

   Caddo Parish Courthouse Square, the Court finds Plaintiff’s First Amendment claim fails.

   V.      Conclusion

           For the reasons set forth above, the Court finds Plaintiff has failed to carry its burden and

   show there is an issue of material fact warranting trial. Accordingly, Defendant’s Motion for

   Summary Judgment [Doc. No. 88] is GRANTED, and Plaintiff’s claims are DISMISSED WITH

   PREJUDICE at Plaintiff’s cost.

           MONROE, LOUISIANA, this 25th day of July, 2018.



                                                            _________________________________
                                                                  ROBERT G. JAMES
                                                            UNITED STATES DISTRICT JUDGE




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